Case 1:20-cr-00153-RBJ Document 22 Filed 09/03/21 USDC Colorado Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Case No. 20-cr-00153-RBJ-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     CARLOS FONG ECHAVARRIA,

       Defendant.

______________________________________________________________________________

                            ORDER OF DETENTION
______________________________________________________________________________

       THIS MATTER came before me for a detention hearing on September 3, 2021. The

government requested detention in this case. The defendant did not contest detention, and no

argument was presented beyond the Pretrial Services Report. I have considered the Pretrial

Services report, evidence and the docket in this matter.

       In order to sustain a motion for detention, the government must establish that there is no

condition or combination of conditions which could be imposed in connection with pretrial release

that would reasonably assure (a) the appearance of the defendant as required or (b) the safety of

any other person or the community.        18 U.S.C. ' 3142(b).    The former element must be

established by a preponderance of the evidence, and the latter requires proof by clear and

convincing evidence.

       If there is probable cause to believe that the defendant committed an offense proscribed by

the Controlled Substances Act which carries with it a penalty of ten years or more, a rebuttable

presumption arises that no condition or combination of conditions will reasonably assure the
Case 1:20-cr-00153-RBJ Document 22 Filed 09/03/21 USDC Colorado Page 2 of 4




appearance of the person as required and the safety of the community. Title 18 U.S.C. ' 3142(e).

The defendant has been charged with Knowingly and Intentionally Conspiring to Distribute and

to Possession with Intent to Distribute a Mixture and Substance containing a detectable amount of

methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and (b).          This controlled substance

offense carries a possible penalty of not more than 20 years’ imprisonment, not more than a

$1,000,000 fine or both; not less than three years supervised release; not more than life supervised

release, and a $100 special assessment fee.

       The presumption favoring detention can be rebutted; however, even if rebutted, the

congressionally mandated presumption remains a factor to consider in assessing whether there is

any condition or combination of conditions will reasonably assure the appearance of the defendant

as required and the safety of the community.

       The Bail Reform Act establishes the following factors to be considered in determining

whether there are conditions of release that will reasonably assure the appearance of the defendant

and the safety of the community:

               (1)     The nature and circumstances of the offense charged,
               including whether the offense is a crime of violence or involves a
               narcotic drug;

               (2)   the weight of the evidence against the person;

               (3)   the history and characteristics of the person includingB

                       (A) the person=s character, physical and mental
                       condition, family ties, employment, financial
                       resources, length of residence in the community,
                       community ties, past conduct, history relating to drug
                       and alcohol abuse, criminal history, and record
                       concerning appearance at court proceedings; and



                                                 2
Case 1:20-cr-00153-RBJ Document 22 Filed 09/03/21 USDC Colorado Page 3 of 4




                       (B) whether at the time of the current offense or
                       arrest, the person was on probation, on parole, or on
                       other release pending trial, sentencing, appeal, or
                       completion of sentence for an offense under Federal,
                       State, or local law; and

               (4) the nature and seriousness of the danger to any person or the
               community that would be posed by the person=s release.

18 U.S.C. ' 3142(g).

       Weighing the factors set out in the Bail Reform Act, I find the rebuttable presumption of

the Act has been triggered. I find that the defendant has not presented sufficient evidence to rebut

the presumption and therefore the presumption stands unrebutted. In making this finding, I note

that defendant has no current employment; defendant has significant ties to Mexico including a

parents, wife, and a child; and that he identifies no stable residence in Colorado.

       I therefore find by a preponderance of the evidence that defendant is a risk of non-

appearance if released on conditions of bond.

       IT IS ORDERED that the defendant is committed to the custody of the Attorney General

or his designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal;

and

       IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity

to consult confidentially with defense counsel; and

       IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney for

the United States, the person in charge of the corrections facility shall deliver defendant to the

United States Marshal for the purpose of an appearance in connection with this proceeding.



                                                  3
Case 1:20-cr-00153-RBJ Document 22 Filed 09/03/21 USDC Colorado Page 4 of 4




Dated September 3, 2021                  BY THE COURT:



                                         Nina Y. Wang
                                         United States Magistrate Judge




                                     4
